
ANGELLOTTI, C. J.
The petitioner seeks a writ of habeas corpus, alleging that he is unlawfully imprisoned under a warrant of arrest issued upon a complaint charging him with the violation of the provisions of certain sections of a municipal ordinance. His claim is that such ordinance is unconstitutional. There is not presented as a part of or with the petition a copy of the complaint or a copy of the municipal ordinance for the violation of which the petitioner is held in custody. Without a copy of the ordinance there is nothing before us to indicate whether there is any basis for the claim made by petitioner. A copy of the complaint should also accompany such an application, in order that the petition may clearly show exactly what the charge against the petitioner is. We deem the showing made in this case insufficient to warrant the issuance of a writ.
The application for a writ of habeas corpus is denied.
Shaw, J., Sloss, J., Lawlor, J., and Lorigan, J., concurred.
